                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA


United States of America,                             Court File No. 24-cv-2944 (KMM/JFD)

                   Plaintiff,                          RECEIVER’S RESPONSE TO
                                                    DFENDANTS BACKUS AND GRYGO’S
       v.                                               REQUST TO SELL ASSETS

Evergreen Recovery Inc., Evergreen Mental
Health Services Inc., Ethos Recovery Clinic
Inc., Second Chances Recovery Housing Inc.,
Second Chances Sober Living, Inc., David
Backus, Shawn Grygo, and Shantel Magadanz,

                   Defendants.


       Receiver Ranelle Leier submits the following response to Defendants David Backus and

Shawn Grygo’s request to sell certain assets. (Dkt. No. 56.) As a concept, the Receiver does not

object to Defendants Backus and Grygo selling personal assets in order to pay for living

expenses. Before the Receiver can agree to Defendants Backus and Grygo’s current request,

however, more information is needed. Specifically, as to each asset identified, the Receiver

requests that Defendants Backus and Grygo provide the Court and counsel with the following

information:

       1.      A complete description of each asset, including make, model, and year.

       2.      Proof of owner of the asset. Specifically, a copy of the title or other evidence the

               asset is owned by Defendant Grygo and/or Defendant Backus and not owned by

               one of the Receivership entities.

       The Receiver also requests that the Court require that any sale of assets is limited to those

assets specifically approved by the Court and that such sale is an arms-length transaction for fair

market value. The Receiver understands that counsel for Plaintiff is attempting to obtain
additional information regarding the assets identified in Dkt. No. 56 from Defendants Backus

and Grygo in order to reach a potential agreement regarding their sale, but Plaintiff’s counsel has

received some but not all requested information.

        In sum, the Receiver respectfully requests that the Court require Defendants Backus and

Grygo to provide the information set forth above and require any sale of Defendants Backus and

Grygo’s assets to be via an arms-length transaction for fair market value.



Dated: October 1, 2024                             FOX ROTHSCHILD LLP



                                                   /s/ Ranelle Leier
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